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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA

GERALD CELESTINE, INDIVIDUALLY *
AND O/B/O HIS MINOR CHILDREN,         *
G.C. AND J.C.                         *   CIVIL ACTION NO.:
                                      *
VERSUS                                *
                                      *
LAFAYETTE CITY-PARISH                 *
CONSOLIDATED GOVERNMENT,              *   JURY TRIAL DEMAND
SCOTT MORGAN, INDIVIDUALLY            *
AND IN HIS CAPACITY AS FORMER         *
CHIEF OF POLICE OF THE                *
LAFAYETTE POLICE DEPARTMENT; *
JOHN DOE 1, JOHN DOE 2,               *
JOHN DOE 3, JOHN DOE 4, JOHN          *
DOE 5, ABC INSURANCE COMPANY          *
                                      *
******************************************************************************

                           COMPLAINT WITH JURY DEMAND

       NOW INTO COURT, through undersigned counsel, comes the Petitioner, Gerald

Celestine, Individually and On Behalf of His Minor Children, G.C. and J.C., a person of the full

age of majority and domiciled in Lafayette Parish, State of Louisiana, who respectfully represents

the following:

                                                 1.

Made Defendants herein are the following:

       a) LAFAYETTE CITY-PARISH CONSOLIDATED GOVERNMENT (hereinafter
       “LCG”), a local government entity and body politically created by statute, being a
       municipality, and political subdivision of the State of Louisiana, but not an agency, or
       department, or arm of the State of Louisiana, and owns, operates, manages, directs, and
       controls the LAFAYETTE POLICE DEPARTMENT (“LPD”), which employs Defendant
       Chief Morgan and Defendants John Doe #1 - #5;

       b) SCOTT MORGAN (hereinafter, “Chief Morgan”), was at all relevant times to this
       Complaint the Chief of Police of the Lafayette Police Department (“LPD”), and is a person
       of full age and majority and domiciled in Lafayette Parish. He is sued in his individual and
       official capacity;



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       c) JOHN DOE #1, was at all relevant times to this Complaint a police officer in the
       Lafayette Police Department, is a person of full age and of majority, domiciled in Lafayette
       Parish. He is sued in his individual capacity;

       d) JOHN DOE #2, was at all relevant times to this Complaint a police officer in the
       Lafayette Police Department, is a person of full age and of majority, domiciled in Lafayette
       Parish. S/he is sued in his individual capacity;

       e) JOHN DOE #3, was at all relevant times to this Complaint a police officer in the
       Lafayette Police Department, is a person of full age and of majority, domiciled in Lafayette
       Parish. S/he is sued in his individual capacity;

       f) JOHN DOE #4, was at all relevant times to this Complaint a police officer in the
       Lafayette Police Department, is a person of full age and of majority, domiciled in Lafayette
       Parish. S/he is sued in his individual capacity;

       g) JOHN DOE #5, was at all relevant times to this Complaint a police officer in the
       Lafayette Police Department, is a person of full age and of majority, domiciled in Lafayette
       Parish. S/he is sued in his individual capacity;

       h) ABC INSURANCE COMPANY, an insurance company authorized to do, and doing
       business in the State of Louisiana providing general liability coverage for Chief Morgan,
       Defendants John Does #1 - #5, the LPD, and/or LCG for any and all acts and damages
       occurring from the incidents giving rise to this Complaint.

       i) At all times relevant to this Complaint, all Defendants acted under the color of state law.

       j) THIS PETITION PUTS ON NOTICE ANY EXCESS POLICY COVERING THE
       LAFAYETTE CONSOLIDATED GOVERNMENT, THE LAFAYETTE POLICE
       DEPARTMENT, CHIEF SCOTT MORGAN, ANY EMPLOYEE OF THE LAFAYETTE
       POLICE DEPARTMENT, AND ANY POTENTIAL UNION POLICY COVERING THE
       INDIVIDUAL LOUISIANA POLICE DEPARTMENT NAMED INDIVIDUALLY IN
       THIS SUIT.

                                JURISDICTION AND VENUE

                                                 2.

       The United States District Court has jurisdiction over the subject matter of this Complaint

under 42 U.S.C. 1983 and 28 U.S.C. 1331, 1343(a)(3), and 1367(a).

                                                 3.




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        The Western District of Louisiana is the appropriate venue to bring this Complaint, because

the facts that give rise to Petitioner’s claims all took place within the Western District of Louisiana.

            FACTUAL ALLEGATIONS SURROUNDING SEPTEMBER 5, 2020

                                                   4.

        At all times relevant to this Complaint, all of the Defendants—Chief Morgan, LCG, John

Doe #1, John Doe #2, John Doe #3, John Doe #4, and John Doe #5—conspired and acted in concert

together to injure the Petitioner and his minor children, and all of these Defendants are jointly,

severally, and/or in solido liable to and responsible for the Petitioner and his minor children’s

injuries and damages. Defendants John Doe #1 - #5 were all law enforcement agents allegedly

responding to a report of a male displaying a gun to children in the parking lot of the Acadiana

Lanes bowling alley, which resulted in the use of excessive force and injuries against J.C. and G.C.

described herein.

                                                   5.

        Upon information and belief, on the night of September 5, 2020, Defendant police officers

John Does #1 - #5 responded to a report of a man with a gun in the 3200 block of Ambassador

Caffery Parkway in Lafayette, Louisiana.

                                                   6.

        When Defendant police officers John Doe #1 - #5 arrived at the scene, there was no one

who matched the reported description of the person with a gun, and the officers didn't find anyone

with a gun, so the LPD officers left the scene.

                                                   7.

        Shortly thereafter, around 30 minutes later, and upon information and belief, Defendant

police officers John Doe #1 - #5 conducted an unrelated traffic stop at the same location (3200




                                                   3
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block of Ambassador Caffery Parkway). At that time, John Doe #1, John Doe #2, John Doe #3,

John Doe #4, and/or John Doe #5 noticed 16-year-old J.C. waiting in line outside Acadiana Lanes

bowling alley with his twin brother, G.C., and other teenage friends.

                                                8.

       J.C. and G.C. are both African American. As J.C. and G.C. were patiently and lawfully

waiting in line outside of the bowling alley, one of the John Doe Defendant police officers

approached J.C., immediately arrested him, and escorted him behind the LPD unit parked in the

lot adjacent to the sidewalk.

                                                9.

       At the time J.C. was arrested, there was no evidence of or reports that J.C. had a gun or any

other weapon on his person, and nor were there any reports or complaints that J.C. had engaged or

was engaging in illegal activity.

                                               10.

       After J.C. was arrested and escorted away, members of the public began questioning John

Doe #1 and/or the other John Doe Defendant officers about why J.C. had been placed under arrest.

                                               11.

       Additionally, J.C.’s brother, G.C., calmly and rationally approached one or more of the

Defendant John Doe #1 - #5 police officers and inquired why his brother, J.C., was being arrested.

                                               12.

       When G.C. approached the Defendant police officers, John Doe #1 yelled at G.C.

screaming “get off me” and forcefully pushed G.C. in his chest.

                                               13.




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       Although John Doe #1 screamed at G.C. to get off of him, bystander video of the subject

incident shows that G.C. was not “on” John Doe #1 at any time.

                                                14.

       At no time did anyone, including G.C., touch or otherwise interfere with the actions or

duties of the Defendant police officers John Does #1 - #5.

                                                15.

       Nevertheless, John Doe #1 then grabbed the front of G.C.’s shirt and aggressively forced

G.C. backwards from the edge of the sidewalk to the door of the bowling alley where he violently

slammed G.C.’s back into the glass door of the bowling alley entrance.

                                                16.

       John Doe #2 and John Doe #3 then rushed over and held G.C. down as John Doe #1

repeatedly and brutally punched G.C. in his face and head at least five (5) times with a closed fist.

                                                17.

       John Doe #2 held one of G.C.’s arms behind his back while John Doe #3 crouched on

G.C.’s other side.

                                                18.

       A crowd of people standing on the sidewalk nearby screamed and pleaded for John Doe #1

to stop the unjustified and excessive use of force against G.C.

                                                19.

       Upon information and belief, John Doe #4 and John Doe #5 were present, were

standing/located in close proximity of, observed, and witnessed the unlawful actions and excessive

use of force committed by John Doe #1, John Doe #2, and John Doe #3 on G.C.

                                                20.




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        Despite observing and witnessing the unlawful and unjustified actions of John Doe #1,

John Doe #2, and John Doe #3, Defendant officers John Doe #4 and John Doe #5 never intervened

and failed to take any action to deescalate the situation or otherwise take any action to stop John

Doe #1, John Doe #2, and John Doe #3 from engaging in their unjustified and illegal use of

excessive force being committed against G.C.

                                                21.

        Instead, John Doe #4 and John Doe #5 stood guard over John Doe #1, John Doe #2, and

John Doe #3 while John Does #2 - #3 held down G.C., allowing John Doe #1 to brutally attack,

punch, and beat G.C. while he laid helplessly pinned down to the ground.

                                                22.

        John Doe #2 and John Doe #3 also failed to intervene and stop John Doe #1 from

continuing to use unlawful excessive force against G.C., but instead helped John Doe #1 commit

and continue the unlawful use of excessive force against G.C. by holding G.C. down to the ground.

                                                23.

        As G.C. laid limp on the ground, John Doe #1 stood over G.C., while John Doe #2 and

John Doe #3 placed handcuffs on G.C. and pulled him up from the ground.

                                                24.

        G.C. was charged with interfering with a police investigation, resisting arrest, and battery

of a police officer.

                                                25.

        At no time during the arrest of J.C. and G.C. was a gun ever found on either J.C. or G.C.,

and nor was any weapon found anywhere at the scene.

                                                26.




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        Upon information and belief, John Doe #1, John Doe #2, John Doe #3, John Doe #4, and/or

John Doe #5 had been involved in a previous altercation with J.C. and/or G.C.—specifically, one

of the Defendant John Doe officers used a taser against J.C. or G.C.—and J.C. and/or G.C. appear

to have been targeted by one or more of the John Doe officer Defendants #without any provocation

or legal justification.

       FACTUAL ALLEGATIONS SURROUNDING EMPLOYMENT, TRAINING,
             SUPERVISION, AND DISCIPLINE OF LPD OFFICERS

                                               27.

        Defendant LCG utilizes and employs its own police department known as the Lafayette

Police Department (LPD). At all times relevant to this Complaint and the incident giving rise to

this complaint, Defendant Scott Morgan was the Chief of Police for the LPD, making him the

responsible decisionmaker and policymaker for the LPD and the LPD police officers, including

Defendant police officers John Does #1 - #5.

                                               28.

        In his official capacity, Chief Morgan was also responsible for adopting, implementing,

promulgating, and enforcing policies, customs, and practices pertaining to making arrests and

preserving peace in the City of Lafayette.

                                               29.

        Additionally, in his official capacity, Chief Morgan was responsible for the screening,

hiring, disciplining, reprimanding, training, supervising, and the retraining of Lafayette Police

Officers to ensure each officer was and is qualified and properly trained to perform the duties and

functions of a peace officer including making arrests, preserving the peace, and the constitutional

use of force.

                                               30.



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       Chief Morgan had a responsibility in supervising and enforcing and implementing these

training, discipline, and enforcement of these policies, customs, practices.

                                                31.

       In Chief Morgan’s official capacity, he was responsible for investigating use of force

incidents involving LPD officers, as well as reprimanding and disciplining LPD officers, including

Defendant police officers John Does #1 - #5, who use excessive force and/or who fail to intervene

when present during the use of excessive force committed by fellow LPD officers.

                                                32.

       Based on the extreme misconduct of Defendant John Does #1 - #5 and upon information

and belief, Defendant Chief Morgan and Defendant LCG did not properly or adequately examine

and scrutinize the background of Defendants John Doe #1, John Doe #2, John Doe #3, John Doe

#4, and/or John Doe #5 to ensure that these officers could properly and legally carry out their

duties as a police officer for the LPD.

                                                33.

       Based on the misconduct of Defendants John Does #1 - #5 and upon information and belief,

Defendant Chief Morgan and Defendant LCG did not properly train, supervise, and/or discipline

Defendants John Doe #1 - #5 with regard to proper police practices, including the use of excessive

force when effecting arrests and the requisite probable cause necessary to constitutionally

effectuate such an arrest.

                                                34.

       Upon information and belief, in willful, reckless, and callous disregard to J.C. and G.C.’s

safety and rights under federal and state law, Chief Morgan and LCG did not have an adequately

trained upon, promulgated, and enforced use of excessive force policy in place for the City of




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Lafayette at all relevant times upon which officers, including John Does #1 - #5, were sufficiently

or adequately trained so as to know when the use of force is appropriate and/or when to intervene

during the use of illegal, excessive use of force.

                                                 35.

        Upon information and belief, in willful, reckless, and callous disregard to J.C. and G.C.’s

safety and rights under federal and state law, Chief Morgan and LCG did not have an adequately

trained upon, promulgated, and enforced de-escalation policy in place for the City of Lafayette at

all relevant times upon which officers, including John Does #1 - #5, were sufficiently or adequately

trained so as to know how to properly de-escalate situations.

                                                 36.

        Despite Lafayette Parish being a majority white/Caucasian Parish, there is an overt policy

and practice whereby people of color are disproportionately stopped, detained, harassed, subjected

to use of force, and shot by LPD officers.

                                                 37.

        Between 2010 and 2019, statistics published by LPD show 1,172 use of force reports

submitted by LPD officers, equating to one approximately every three days.

                                                 38.

        In this same time period, data published by LPD show a pattern, custom, and practice of

excessive use of force, including improper use of lethal force. According to their own statistics,

between 2010 and 2019, there were 107 civil lawsuits filed against LPD.

                                                 39.

        These lawsuits contain repeated allegations of excessive use of force and improper use of

lethal force:




                                                     9
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       (a) In 2007, LPD was sued through LCG for putting a man in a chokehold— causing him
           to almost pass out, dragging him to a police car, and calling him a “stupid n***a;”

       (b) In 2009, LPD was sued through LCG for killing a black man in a parking lot who was
           being approached for suspicion of the non-violent crime of auto theft;

       (c) Also in 2009, LPD was sued through LCG for knocking a man down with such force
           that it rendered him unconscious, and refusing him necessary medications, which
           caused him to suffer seizures;

       (d) In 2010, LPD, through the LCG, settled a suit wherein an officer put a man in a
           chokehold, drug him to police car, and called him a “stupid n***a;” the man almost
           passed out from loss of oxygen;

       (e) In 2011, LPD was sued through the LCG and settled a case for snapping a motorist’s
           arm bone in half during a traffic stop;

       (f) In 2012, LPD was sued through LCG for tackling a woman from behind who was
           already handcuffed;

       (g) In 2012, LPD was sued through LCG for wrestling a man to the ground in Wal-Mart
           and putting him in a chokehold;

       (h) Also in 2012, LPD was sued through LCG for stopping a man as he crossed the street,
           striking him with elbows, knees and fists, and kicking him in the face;

       (i) In 2013, LPD was sued through LCG for shooting and killing a man who witnesses
           said was running away when shot;

       (j) In 2016, LPD was sued through LCG for fatally shooting a man in the back as he fled
           a pursuit;
       (k) Also in 2016, LPD was sued through LCG for officers repeatedly harassing battering
           two teenage brothers;

       (l) In 2017, the ACLU sued LPD through the LCG for taking a woman’s camera who was
           documenting the violence of LPD officers against her son and deleting the evidence of
           their excessive force from the camera;

       (m) In 2020, LPD was sued through LCG for the fatal shooting of a mentally ill man who
          was calmly walking away from officers, posing no danger to others;

       (n) In 2021, LPD was sued through LCG for the violent arrest of an unarmed man sitting
           on a curb that resulted in him being tackled with such force that his head was brutally
           smashed into the concrete, causing extreme injury. In fact, one of the LPD officers who
           allegedly committed the unlawful use of force against the victim could be heard




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             speaking to another officer on body camera video saying he would “have Sarge do a
             use of force to cover both of our asses.”

                                                  40.

         Numerous other lawsuits have been filed in federal court alone detailing excessive use of

 force, improper training, improper hiring, and improper discipline against LPD.

                                                  41.

         Additionally, in 2012, the LPD was sued for their lack of supervision and proper discretion

 in hiring and training officers, for their misconduct, and handling of evidence. Specifically, the

 plaintiffs alleged that the leadership of LPD “created, fostered, engendered, and . . . supported a

 police department which is fundamentally ‘rotten to the core’” and “outright concealment of police

 misconduct, retaliations, retributions, and reprisals against those who report such misconduct, a

 gross distortion of the truth.”

                                                  42.

         In 2020, an LPD officer yanked a woman from his police SUV and hogtied her as she lay

 face-down, bleeding in the street. The officer’s force caused her to hit her chin on the floorboard

 and street, sustaining broken ribs and an injury to her chin.

                                                  43.

         The above lawsuits and events demonstrate that the incident with J.C. and G.C. is not an

 outlier but rather part of a continuing pattern, custom, and practice of LPD as part of LCG targeting

 African Americans and other individuals and then committing excessive and unjustified use of

 force against such African Americans and other individuals.

                                                  44.

         Upon information and belief, Chief Morgan and the LPD, as part of LCG, has not changed

 their hiring, training, or supervision policies and their enforcement despite this subject incident



                                                  11
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 and the numerous use of force complaints and lawsuits filed against the LCG and its police

 department officers and police chief.

                                                45.

         Further, Chief Morgan and the LPD, as part of LCG, has a history of not properly or

 adequately disciplining or firing officers, including Defendants John Doe #1, John Doe #2, John

 Doe #3, John Doe #4, and John Doe #5, when they engage in illegal or improper conduct, including

 making arrests without probable cause and using excessive force against citizens when effecting

 an arrest.

                                                46.

         Upon information and belief, Chief Morgan investigated the subject incident giving rise to

 this lawsuit, but did not properly or adequately discipline or reprimand Defendants officers John

 Doe #1, John Doe #2, John Doe #3, John Doe #4, and John Doe #5 for their actions involving J.C.

 and G.C.

                                                47.

         In addition to the numerous complaints and lawsuits alleging the use of unjustified

 excessive force by LPD police officers, Defendant officers John Doe #1, John Doe #2, John Doe

 #3 use of excessive force against G.C. in this case is evidence of and show a clear pattern of the

 LPD’s use of excessive, unjustified, and improper force against citizens of/in Lafayette Parish,

 such as J.C. and G.C.

                                                48.

         Defendants John Does #1 - #5 extreme misconduct and use of excessive force and failure

 to intervene during the use of excessive force was a product of this environment and undertaken

 pursuant to de facto policies, practices, and/or customs—both written and unwritten—of the LPD,




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 the LCG, and Chief Morgan. Chief Morgan and/or the LCG are guilty of the following wrongful

 acts, including but not limited to:

        1. Failing to properly hire, supervise, and train LPD officers, including John Does #1 -
           #5;

        2. Failure to promulgate, train, and enforce an adequate and constitutional use of force
           policy;

        3. Failure to promulgate, train, and enforce an adequate and constitutional de-escalation
           tactics;

        4. Failure to promulgate, train, and enforce an adequate and constitutional non-
           discriminatory law enforcement practices to protect African-American citizens of
           Lafayette Parish;

        5. Failing to reprimand and discipline LPD officers, including John Does #1 - #5, who
           engage in misconduct and use of excessive force;

        6. Failing to retrain and/or otherwise control LPD officers, including John Does #1 - #5,
           who engage in the use of excessive force;

        7. Failing to follow appropriate policies and procedures to address and correct repeated
           use of excessive force;

        8. Failing to adequately investigate complaints and allegations of the use of excessive
           force and other misconduct by LPD officers, including the complaints and allegations
           surrounding John Does #1 - #5;

        9. Tacitly approving of LPD officers, including John Does #1 - #5, using their power and
           position to interfere with other citizens’ rights;

        10. As a matter of both policy and practice, Chief Morgan and the LCG facilitating the
            misconduct of John Does #1 - #5 by failing to protect civilians from reckless
            indifference of the LPD’s agents, servants, and employees; and

        11. Allowing the practice and custom of a “police code of silence,” resulting in LPD
            Officers, including John Does #1 - #5, refusing to report instances of police misconduct
            of which they are aware.

                                                49.




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           At all times relevant to this Complaint, the conduct of Chief Morgan, the LCG, and John

 Does #1 - #5 were in willful, reckless, and callous disregard of J.C.’s and G.C.’s constitutional

 rights under federal and state law.

                                                  50.

           As a direct result and proximate result of the conduct of Chief Morgan, the LCG, and John

 Does #1 - #5, J.C. and G.C. have suffered and continue to suffer extraordinary damages, including

 the prolonged loss of liberty, emotional distress, and trauma, loss of the enjoyment of life,

 psychological harm, and pain and suffering, some of which may be permanent, as well as financial

 losses.

                                    G.C.’S CAUSES OF ACTION

                                           Count I
                                Federal Constitutional Claims
                                Violation of 42 U.S.C. § 1983:
      Use of Excessive Force in Violation of Fourth and Fourteenth Amendment Rights
        (G.C. Against Defendants John Does #1 - #3 in Their Individual Capacities)

                                                  51.

           As alleged above herein, the actions or in actions of Defendant officers John Doe #1, John

 Doe #2, and John Doe #3, violated G.C.’s rights under the Fourth and Fourteenth Amendments to

 be free from the unlawful use of excessive force.

                                                  52.

           As a result of the actions and inactions of Defendant officers John Doe #1, John Doe #2,

 and John Doe #3, as alleged herein, G.C. has suffered damages including: (1) the loss of liberty

 and freedom; (2) mental and emotional injury; (3) physical injury, pain and suffering; and (4) any

 other special and general damages and expenses, in an amount to be proven at trial.

                                              Count II
                                    Federal Constitutional Claims



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                              Violation of 42 U.S.C. § 1983:
                         Failure to Intervene/Bystander Liability
   (G.C. Against Defendants John Doe #2 and John Doe #3 in Their Individual Capacities)

                                                53.

        As alleged above herein, Defendant officers John Doe #2 and John Doe #3 failed to

 intervene to prevent the deprivation of G.C.’s constitutional right to be free from the use of

 excessive force.

                                                54.

        As Defendant officer John Doe #1 beating G.C. and violating his constitutional right to be

 free from the use of excessive force, Defendant officers John Doe #2 and John Doe #3 were present

 at the scene and were both located in close proximity to John Doe #1 and G.C.

                                                55.

        Defendant officers John Doe #2 and John Doe #3 saw and observed the constitutional

 violations being committed by Defendant John Doe #1.

                                                56.

        Defendant officers John Doe #2 and John Doe #3 knew that John Doe #1’s actions were in

 violation of G.C.’s constitutional rights.

                                                57.

        Defendant officers John Doe #2 and John Doe #3 both had sufficient time and a reasonable

 opportunity to prevent and/or stop John Doe #1 from violating G.C.’s constitutional right to be

 free from the use of excessive force.

                                                58.

        Instead of attempting to take some reasonable measures to prevent or stop Defendant John

 Doe #1 from violating and/or continuing to violate G.C.’s constitutional right to be free from the




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 use of excessive force, John Doe #2 and John Doe #3 held down G.C. so as to help and allow John

 Doe #1 to continue violating G.C.’s constitutional right to be free from the use of excessive force.

                                                 59.

        John Doe #2 and John Doe #3 chose not to act so as to stop or prevent the constitutional

 violations being committed by John Doe #1 against G.C.

                                                 60.

        As a result of the actions and inactions of Defendant officers John Doe #2 and John Doe

 #3, G.C. has suffered damages including: (1) the loss of liberty and freedom; (2) mental and

 emotional injury; (3) physical injury, pain and suffering; and (4) any other special and general

 damages and expenses, in an amount to be proven at trial.

                                         Count III
                              Federal Constitutional Claims
                              Violation of 42 U.S.C. § 1983:
                         Failure to Intervene/Bystander Liability
   (G.C. Against Defendants John Doe #4 and John Doe #5 in Their Individual Capacities)

                                                 61.

        As alleged above herein, Defendant officers John Doe #4 and John Doe #5 failed to

 intervene to prevent the deprivation of G.C.’s constitutional right to be free from the use of

 excessive force.

                                                 62.

        As Defendant officer John Doe #1 was beating and punching G.C. on the ground while

 G.C. was being held down by John Doe #2 and John Doe #3, Defendant officers John Doe #4 and

 John Doe #5 were present at the scene and were both located in close proximity to John Does #1 -

 #3 and G.C.

                                                 63.




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        Defendant officers John Doe #4 and John Doe #5 saw and observed the constitutional

 violations being committed by Defendant John Does #1 - #3.

                                                  64.

        Defendant officers John Doe #4 and John Doe #5 knew that Defendant officers John Doe

 #1 - #3’s actions were in violation of G.C.’s constitutional rights.

                                                  65.

        Defendant officers John Doe #4 and John Doe #5 both had sufficient time and a reasonable

 opportunity to prevent and/or stop John Doe #1 - #3 from violating G.C.’s constitutional right to

 be free from the use of excessive force.

                                                  66.

        Instead of attempting to take some reasonable measures to prevent or stop Defendant John

 Does #1 - #3 from violating and/or continuing to violate G.C.’s constitutional right to be free from

 the use of excessive force, John Doe #4 and John Doe #5 stood guard over John Does #1 - #3 and

 chose not to act so as to stop or prevent the constitutional violations being committed by John Does

 #1 - #3 against G.C.

                                                  67.

        As a result of the actions and inactions of Defendant officers John Doe #4 and John Doe

 #5, G.C. has suffered damages including: (1) the loss of liberty and freedom; (2) mental and

 emotional injury; (3) physical injury, pain and suffering; and (4) any other special and general

 damages and expenses, in an amount to be proven at trial.

                                        Count IV
                              Federal Constitutional Claims
                              Violation of 42 U.S.C. § 1983:
                                      Monell Claims
    (G.C. Against Defendant Chief Morgan in His Official Capacity and Defendant LCG)




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                                                  68.

        The actions or in actions of the LCG and Chief Morgan in his official capacity as the chief

 of police for the LPD, as alleged in this Complaint, with respect to Chief Morgan’s and LCG’s

 failure to properly and adequately train, supervise, and discipline Defendant officers John Does #1

 - #5 violated G.C.’s rights under the Fourth and Fourteenth Amendments to the U.S. Constitution

 to be free from the unlawful use of force, directly or proximately causing G.C.’s injuries.

                                                  69.

        The actions or inactions of the LCG and Chief Morgan, as alleged in this Complaint,

 violated G.C.’s Fourth and Fourteenth Amendments Rights to the U.S. Constitution, directly or

 proximately causing his injury and suffering by the LCG’s and Chief Morgan’s approval, use of,

 and/or failure to correct the unconstitutional policies, practices, patterns, and/or customs of the

 LPD with respect to making decisions to arrest, and effecting the arrest of African Americans.

                                                  70.

        The LCG and Chief Morgan permitted, encouraged, tolerated, and knowingly acquiesced

 in an official pattern, practice or custom of LPD officers, including LPD officers John Does #1 -

 #5, of violating the constitutional rights of the public at large, including G.C.

                                                  71.

        The LCG and Chief Morgan had been put on notice of the need for policy and training in

 the use of excessive force and race-based policing due to the numerous past injuries and deaths of

 persons arrested by LPD officers.

                                                  72.

        The actions of LPD officers John Does #1 - #5, as described herein, were unjustified,

 unreasonable, unconstitutional, excessive and grossly disproportionate to the actions of G.C.—




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 who was not armed and did not pose a threat—and constituted an unreasonable search and seizure

 effectuated through the use of excessive force and a deprivation of G.C.’s constitutional rights

 secured to him by the Fourth and Fourteenth Amendments of the United States Constitution.

                                                  73.

        The actions and inactions of LPD officers John Does #1 - #5 described herein were in direct

 violation of the constitution, law and regulations of the United States and the State of Louisiana.

                                                  74.

        The LCG and Chief Morgan condoned, approved, ratified, facilitated and knowingly

 acquiesced in the actions of LPD officers John Does #1 - #5 described herein by failing to properly

 investigate, adequately discipline and hold accountable LPD officers John Does #1 - #5 for their

 actions.

                                                  75.

        The violations of G.C.’s constitutional rights under the Fourth and Fourteenth

 Amendments to the U.S. Constitution, his damages, and/or the conduct of John Does #1 - #5 were

 directly and proximately caused by the actions and/or inactions of the LCG and Chief Morgan,

 who has encouraged, tolerated, ratified, and has been deliberately indifferent to the following

 policies, patterns, practices, and customs, and to the need for more or different training,

 supervision, investigation, or discipline in the areas of:

        a. Use of force by police officers;

        b. Police officers’ duties and responsibilities to engage in proper de-escalation techniques;

        c. The proper exercise of police powers, including not limited to the making of an arrest
           and the use of force;

        d. Police officers’ duties not to un-necessarily use force;




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       e. The failure to identify and take remedial or disciplinary action against officers who
          were the subject of prior civilian or internal complaints of misconduct;

       f. Failing to retrain and/or otherwise control officers who engage in excessive force
          and/or unjustified shooting against civilians;

       g. Failing to follow appropriate policies and procedures to address and correct repeated
          use of excessive force;

       h. The hiring and retention of officers who are unqualified for their employment positions;

       i. Failure to require, discipline, and supervise their officers for not reporting illegal,
          impermissible, improper, or any other conduct of other officers that is unbefitting of an
          officer or violates department policies and protocols;

       j. Officers’ use of their status as a police officer to employ the use of force or to achieve
          ends not reasonably related to their law enforcement duties;

       k. Officers’ decision to target individuals because of previous encounters with said
          individual;

       l. The failure of officers to follow established policies, procedures, directive, and
          instructions regarding arrests, use of force, and institution of criminal charges under
          such circumstances as presented by this case;

       m. The failure to properly sanction or discipline deputies who are aware of and conceal
          and/or aid and abet violations of constitutional rights of citizens by other officers;

       n. As a matter of both policy and practice, LCG and Chief Morgan facilitating the type of
          misconduct alleged herein by failing to protect civilians from reckless indifference or
          their departments’ agents, servants, and employees.

                                                76.

       The LCG and Chief Morgan had actual or constructive notice of the deficiencies with the

 policies, practices and customs of the LPD that make officer misconduct a foreseeable

 consequence.

                                                77.




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        The LCG and Chief Morgan knew, must have known, or should have known that the above-

 referenced policies, practices, and/or customs, would likely lead to serious injury or death to

 citizens and that such injuries were foreseeable; yet, disregarded that risk.

                                                  78.

        The aforementioned policies, practices and customs were inadequate in relation to the

 specific tasks LPD police officers must routinely perform and with respect to activities where there

 is an obvious need for proper policies, practices and customs and therefore, illustrated its deliberate

 indifference and/or reckless disregard to the consequences of officer misconduct.

                                                  79.

        The LCG’s and Chief Morgan’s above referenced policies, practices and/or customs

 violated the G.C.’s constitutional rights; and said policies, practices and/or customs were the

 moving force behind and proximate cause of said violations.

                                                  80.

        The LCG’s and Chief Morgan’s above referenced policies, practices and/or customs

 demonstrated a deliberate indifference to the constitutional rights of the public, including G.C.’s,

 and was the proximate cause of the injuries and damages sustained by G.C., and evidenced a

 reckless or callous indifference to the federally protected rights of G.C.

                                                  81.

        By failing to recognize or correct the deficiencies with his policies, practices and customs,

 the LCG and Chief Morgan consciously disregarded the known and foreseeable consequences

 thereof.

                                                  82.




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        The LCG’s and Chief Morgan’s deliberately indifferent policies, practices and customs

 were the moving force behind G.C.’s injuries and the deprivation of his constitutional rights.

                                                 83.

        There is a direct causal link between the policies, practices and customs of the LCG and

 Chief Morgan and the injuries to and violation of G.C.’s constitutional rights.

                                                 84.

        As a direct and proximate result of the foregoing policies, practices and customs of the

 LCG and Chief Morgan, the violation of the constitutional rights of the public, including G.C., by

 LPD officers John Does #1 - #5 was substantially certain to occur.

                                                 85.

        As a result of the foregoing policies, practices and customs of the LCG and Chief Morgan,

 G.C. has suffered damages including: (1) the loss of his liberty and freedom; (2) mental and

 emotional injury; (3) physical injury, pain and suffering; and (4) any other special and general

 damages and expenses, in an amount to be proven at trial.

                                         Count V
                                    State Law Claims
     (G.C. Against Defendant Chief Morgan in His Individual and Official Capacity and
                                    Defendant LCG)

                                                 86.

        The LCG and Chief Morgan are responsible and liable to G.C. for the damages and injuries

 he has suffered as a result of Defendant officers John Doe #1 - #3’s actions and/or inactions

 pursuant to Louisiana Code of Civil Procedure Article 2315, which provides that “[e]very act

 whatever of man that causes damage to another obliges him by whose fault it happened to repair

 it”; Article 2316, which provides that “[e]very person is responsible for the damage he occasions

 not merely by his act, but by his negligence, his imprudence, or his want of skill”; Article 2317,



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 which provides that “[w]e are responsible, not only for the damage occasioned by our own act, but

 for that which is caused by the act of persons for whom we are answerable, or of the things which

 we have in our custody”; and Article 2320, which provides that “[m]asters and employers are

 answerable for the damage occasioned by their servants and overseers, in the exercise of the

 functions in which they are employed…responsibility only attaches, when the masters or

 employers…might have prevented the act which caused the damage, and have not done it.”

                                                87.

         The actions and/or inactions of Defendant officers John Does #1 - #3, for which Chief

 Morgan and the LCG are responsible for under the law of the State of Louisiana, constitute the

 torts of:

         a.   Battery;

         b.   Assault; and

         b.   Intentional Infliction of Emotional Distress

                                                88.

         The actions and/or inactions of Chief Morgan, as alleged herein, constitute the state law

 torts of:

         a. Intentional Infliction of Emotional Distress;

         b. Negligent Hiring;

         c. Negligent Retention;

         d. Negligent Supervision; and

         e. Malfeasance in Office

                                                89.




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         As a result of the above torts committed by the Defendant officers John Does #1 - #3, Chief

 Morgan, and the LCG, G.C. has suffered damages including: (1) the loss of his liberty and freedom;

 (2) mental and emotional injury; (3) physical injury, pain and suffering; and (4) any other special

 and general damages and expenses, in an amount to be proven at trial.

                                           Count VII
                                       State Law Claims
              (G.C. Against Defendants John Doe #1, John Doe #2, and John Doe #3)

                                                   90.

         Defendant officers John Doe #1, John Doe #2, and John Doe #3 are responsible and liable

 to G.C. for the damages and injuries he has suffered as a result of said Defendants’ actions and/or

 inactions pursuant to Louisiana Code of Civil Procedure Article 2315, which provides that “[e]very

 act whatever of man that causes damage to another obliges him by whose fault it happened to

 repair it”; Article 2316, which provides that “[e]very person is responsible for the damage he

 occasions not merely by his act, but by his negligence, his imprudence, or his want of skill”; and

 Article 2317, which provides that “[w]e are responsible, not only for the damage occasioned by

 our own act, but for that which is caused by the act of persons for whom we are answerable, or of

 the things which we have in our custody.”

                                                   91.

         The actions and/or inactions of Defendant officers John Does #1 - #3 constitute the state

 law torts of:

         c.      Battery;

         d.      Assault; and

         b.      Intentional Infliction of Emotional Distress

                                                   92.




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        As a result of the above torts committed by the Defendant officers John Does #1 - #3, G.C.

 has suffered damages including: (1) the loss of his liberty and freedom; (2) mental and emotional

 injury; (3) physical injury, pain and suffering; and (4) any other special and general damages and

 expenses, in an amount to be proven at trial.

                                  J.C.’S CAUSES OF ACTION

                                             Count I
                                  Violation of 42 U.S.C. § 1983:
                     Violation of J.S.’s Fourth and Fourteenth Amendment
                     Right to be Free from Unlawful Searches and Seizures
                          (J.C. Against Defendants John Does #1 - #5)

                                                 93.

        As alleged above herein, J.C. was merely standing in line to enter a bowling alley when

 one or more of the Defendant LPD police officers (John Does #1 - #5) walked up to J.C. in line

 and immediately arrested him without any probable cause. There were no complaints that J.C.

 engaged or was engaging in illegal activity. There were no complaints that J.C. had a gun or any

 weapon on his person. No citizens or LPD officers ever saw J.C. engage in any illegal activity.

                                                 94.

        Nevertheless, one or more of the Defendant LPD officers searched, seized, and arrested

 J.S. on a mere hunch that J.S. may have fit the description of some unknown individual that was

 reported to have a gun around that area sometime earlier in the evening.

                                                 95.

        As a result of the actions and inactions of Defendant officers John Does #1 - #5, as alleged

 herein, J.C. was arrested without probable cause and has suffered damages including: (1) the loss

 of his liberty and freedom; (2) mental and emotional injury; (3) pain and suffering; and (4) any

 other special and general damages and expenses, in an amount to be proven at trial.




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                                         Count II
                              Federal Constitutional Claims
                              Violation of 42 U.S.C. § 1983:
                                      Monell Claims
    (J.C. Against Defendant Chief Morgan in His Official Capacity and Defendant LCG)

                                                 96.

        As alleged above herein, J.C. was merely standing in line to enter a bowling alley when

 one or more of the Defendant LPD police officers (John Does #1 - #5) walked up to J.C. in line

 and immediately arrested him without any probable cause. There were no complaints that J.C.

 engaged or was engaging in illegal activity. There were no complaints that J.C. had a gun or any

 weapon on his person. No citizens or LPD officers ever saw J.C. engage in any illegal activity.

                                                 97.

        Nevertheless, one or more of the Defendant LPD officers arrested J.C. on a mere hunch

 that J.C. may have fit the description of some unknown individual that was reported to have a gun

 around that area sometime earlier in the evening.

                                                 98.

        The actions or in actions of the LCG and Chief Morgan in his official capacity as the chief

 of police for the LPD, as alleged in this Complaint, with respect to Chief Morgan’s and LCG’s

 failure to properly and adequately train, supervise, and discipline Defendant officers John Does #1

 - #5 violated J.C.’s rights under the Fourth and Fourteenth Amendments to the U.S. Constitution

 to be free from the unlawful searches and seizures, directly or proximately causing J.C.’s injuries.

                                                 99.

        The actions or inactions of the LCG and Chief Morgan, as alleged in this Complaint,

 violated J.C.’s Fourth and Fourteenth Amendments Rights to the U.S. Constitution, directly or

 proximately causing his injury and suffering by the LCG’s and Chief Morgan’s approval, use of,




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 and/or failure to correct the unconstitutional policies, practices, patterns, and/or customs of the

 LPD with respect to making decisions to arrest, and effecting the arrest of African Americans.

                                                  100.

         The LCG and Chief Morgan permitted, encouraged, tolerated, and knowingly acquiesced

 in an official pattern, practice or custom of LPD officers, including LPD officers John Does #1 -

 #5, of violating the constitutional rights of the public at large, including J.C.

                                                  101.

         The violations of J.C.’s constitutional rights under the Fourth and Fourteenth Amendments

 to the U.S. Constitution, his damages, and/or the conduct of John Does #1 - #5 were directly and

 proximately caused by the actions and/or inactions of the LCG and Chief Morgan, who has

 encouraged, tolerated, ratified, and has been deliberately indifferent to the following policies,

 patterns, practices, and customs, and to the need for more or different training, supervision,

 investigation, or discipline in the areas of:

         a.    Legal cause to stop, detail, and/or arrest a citizen;

         b.    Use of force by police officers;

         c.    Police officers’ duties and responsibilities to engage in proper investigative
               techniques;

         e.    The proper exercise of police powers, including not limited to the making of an arrest,
               the use of force, and the bringing of criminal charges;

         f.    Failure to promulgate, train, and enforce an adequate and constitutional non-
               discriminatory law enforcement practices to protect African-American citizens of
               Lafayette Parish;

         e.    The failure to identify and take remedial or disciplinary action against police officers
               who were the subject of prior civilian or internal complaints of misconduct;

         f.    The hiring and retention of officers who are unqualified for their employment
               positions;




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        g.    Police officers’ use of their status as police officers to employ the use of force or
              making arrests to achieve ends not reasonably related to their police duties;

        h.    The failure of police officers to follow established policies, procedures, directive, and
              instructions regarding arrests and engaging in the use of force;

        i.    The failure to properly sanction or discipline officers who are aware of and conceal
              and/or aid and abet violations of constitutional rights of citizens by other LPD police
              officers; and

        j.    Facilitating misconduct resulting in failing to protect civilians from reckless
              indifference of LCG’s agents, servants, and employees in its Police Department as a
              matter of policy and practice.

                                                 102.

        As alleged above herein, the actions or in actions of Defendant officers John Does #1 - #5

 violated J.C.’s rights under the Fourth and Fourteenth Amendments to be free from unlawful

 searches and seizures.

                                                 103.

        As a result of the actions and inactions of Defendant officers John Does #1 - #5, as alleged

 herein, J.C. was arrested without probable cause and has suffered damages including: (1) the loss

 of liberty and freedom; (2) mental and emotional injury; (3) pain and suffering; and (4) any other

 special and general damages and expenses, in an amount to be proven at trial.

                                        Count III
                                    State Law Claims
     (J.C. Against Defendant Chief Morgan in His Individual and Official Capacity and
                                    Defendant LCG)

                                                 104.

        The LCG and Chief Morgan are responsible and liable to J.C. for the damages and injuries

 he has suffered as a result of Defendant officers John Doe #1 - #5’s actions and/or inactions

 pursuant to Louisiana Code of Civil Procedure Article 2315, which provides that “[e]very act

 whatever of man that causes damage to another obliges him by whose fault it happened to repair



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 it”; Article 2316, which provides that “[e]very person is responsible for the damage he occasions

 not merely by his act, but by his negligence, his imprudence, or his want of skill”; Article 2317,

 which provides that “[w]e are responsible, not only for the damage occasioned by our own act, but

 for that which is caused by the act of persons for whom we are answerable, or of the things which

 we have in our custody”; and Article 2320, which provides that “[m]asters and employers are

 answerable for the damage occasioned by their servants and overseers, in the exercise of the

 functions in which they are employed…responsibility only attaches, when the masters or

 employers…might have prevented the act which caused the damage, and have not done it.”

                                                105.

         The actions and/or inactions of Defendant officers John Does #1 - #5, for which Chief

 Morgan and the LCG are responsible for under the law of the State of Louisiana, constitute the

 torts of:

         a.   Battery;

         b.   Assault;

         c.   Intentional Infliction of Emotional Distress;

         d.   False Arrest; and

         e.   Abuse of Process

                                                106.

         The actions and/or inactions of Chief Morgan, as alleged herein, constitute the state law

 torts of:

         a. Intentional Infliction of Emotional Distress;

         b. Negligent Hiring;

         c. Negligent Retention;




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         d. Negligent Supervision; and

         e. Malfeasance in Office

                                                107.

         As a result of the above torts committed by the Defendant officers John Does #1 - #5, Chief

 Morgan, and the LCG, J.C. has suffered damages including: (1) the loss of his liberty and freedom;

 (2) mental and emotional injury; (3) physical injury, pain and suffering; and (4) any other special

 and general damages and expenses, in an amount to be proven at trial.

                                             Count IV
                                         State Law Claims
                            (J.C. Against Defendants John Does #1 - #5)

                                                108.

         Defendant officers John Does #1 - #5 are responsible and liable to J.C. for the damages

 and injuries he has suffered as a result of said Defendants’ actions and/or inactions pursuant to

 Louisiana Code of Civil Procedure Article 2315, which provides that “[e]very act whatever of man

 that causes damage to another obliges him by whose fault it happened to repair it”; Article 2316,

 which provides that “[e]very person is responsible for the damage he occasions not merely by his

 act, but by his negligence, his imprudence, or his want of skill”; and Article 2317, which provides

 that “[w]e are responsible, not only for the damage occasioned by our own act, but for that which

 is caused by the act of persons for whom we are answerable, or of the things which we have in our

 custody.”

                                                109.

         The actions and/or inactions of Defendant officers John Does #1 - #5 constitute the state

 law torts of:

         a.      Battery;




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        b.    Assault;

        c.    Intentional Infliction of Emotional Distress;

        d.    False Arrest; and

        e.    Abuse of Process

                                                110.

        As a result of the above torts committed by the Defendant officers John Does #1 - #5, J.C.

 has suffered damages including: (1) the loss of his liberty and freedom; (2) mental and emotional

 injury; (3) pain and suffering; and (4) any other special and general damages and expenses, in an

 amount to be proven at trial.

                                     JURY TRIAL DEMAND

                                                111.

        Petitioner requests a trial by jury.

                                      PRAYER FOR RELIEF

                                                112.

        The Petitioner respectfully requests:

        a. Compensatory damages as to all Defendants;

        b. Special Damages as to all Defendants;

        c. Punitive damages as to all Defendants sued in their individual capacity;

        d. Reasonable attorneys’ fees and costs as to all Defendants;

        e. Such other and further relief as may appear just and appropriate

        WHEREFORE, Gerald Celestine, individually and on behalf of his minor children, J.S.

 and C.S., prays that a copy of this Complaint is served upon all of the Defendants named herein,

 and that after all proceedings a judgment is rendered in favor of Petitioner and against all




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 Defendants jointly, severally, and/or in solido for all relief deemed equitable under the law

 including attorney’s fees and costs.



                                                          Respectfully submitted,

                                                          /s/ Ronald S. Haley. Jr.________
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                                                          Counsel for Petitioner, Gerald
                                                          Celestine, Individually and On
                                                          Behalf of His Minor Children, J.C.
                                                          and G.C.




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